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                           UNITED STATES DISTRICT COURT
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10                        CENTRAL DISTRICT OF CALIFORNIA
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       MAURICE J. BERNARD,                     ) Case No. 2:18-cv-07640-VBF-JC
13                                             )
14                          Petitioner,        )
                                               )
15
                     v.                        ) JUDGMENT
16                                             )
17     RONALD DAVIS, Warden,                   )
                                               )
18                         Respondent.         )
19                                             )
20 ______________________________
21
22          Final judgment is hereby entered in favor of the respondent warden and

23 against the petitioner. IT IS SO ADJUDGED.
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25
26 DATED: September 23, 2021                     /s/ Valerie Baker Fairbank
27                                           ______________________________
28                                            HON. VALERIE BAKER FAIRBANK
                                          SENIOR UNITED STATES DISTRICT JUDGE
